                      Case 4:20-cv-05640-YGR Document 821-10 Filed 10/08/21 Page 1 of 9


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           14                                UNITED STATES DISTRICT COURT
           15                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
           16                                      OAKLAND DIVISION
           17

           18    EPIC GAMES, INC.                               Case No. 20-cv-05640-YGR
           19                   Plaintiff,
                                                                DECLARATION OF
           20    v.                                             TRYSTAN KOSMYNKA
           21    APPLE INC.,
                                                                The Honorable Yvonne Gonzalez Rogers
           22                   Defendant.
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Crutcher LLP                                 DECLARATION OF TRYSTAN KOSMYNKA
                                                     No. 20-cv-05640-YGR
                     Case 4:20-cv-05640-YGR Document 821-10 Filed 10/08/21 Page 2 of 9


            1       I, Trystan Kosmynka, declare as follows:
            2           1.      I am employed as Senior Director of App Review at Apple Inc. (“Apple”). In my role
            3    as Senior Director of App Review, I run the team and organization that reviews apps submitted for
            4    distribution through Apple’s App Store. I am also a member of the Executive Review Board, which
            5    creates policies that apply to Apple’s App Store and app review process. I have personal knowledge
            6    of the matters stated herein and, if called upon to do so, I could and would testify competently hereto.
            7    Apple’s App Review Guidelines and Review Process
            8           2.      Apple is committed to keeping the App Store a safe and trusted place for users to get
            9    apps and a great opportunity for all developers to be successful. As part of that commitment, Apple
           10    promulgates App Review Guidelines and reviews every app and app update submitted for distribution
           11    through the App Store using a rigorous and sophisticated review process.                  Apple performs
           12    computerized static and dynamic analysis, as well as manual human review, on the compiled software,
           13    or “binary” file, that a developer submits for App Review, along with metadata including screenshots,
           14    images, pricing information, and text describing the app. And if an app contains in-app purchases using
           15    Apple’s In-App Purchase (“IAP”), which is part of Apple’s integrated commerce engine, the App
           16    Review team reviews every one of those offerings to confirm whether they deliver the good or service
           17    that the user pays for and expects. We investigate whether each transaction will actually result in the
           18    delivery of the expected content, whether the purchased content is consistent with the overall app, and
           19    whether the transaction may have other characteristics that could mark it as a scam or mislead users.
           20           3.      Apple’s App Review Guidelines are intended to protect users against apps that are
           21    malicious, dangerous, offensive, scams, invade user privacy, or contain malware, among other threats
           22    that would harm them. We have five pillars of the App Review Guidelines—Safety, Performance,
           23    Business Model, Design, and Legal—all of which are evaluated by Apple when reviewing apps. From
           24    our perspective, these pillars are key to users knowing what they are getting when they download an
           25    app, and how that app will treat their data, before they make the decision to download.
           26           4.      The Business pillar requires the business model of an app—the way that a developer
           27    tries to monetize an app—to be clear. The Guidelines make clear that Apple will not distribute apps
           28    and digital products or services that are clear rip-offs. They set out a universal set of rules that require

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Crutcher LLP                                     DECLARATION OF TRYSTAN KOSMYNKA
                                                         No. 20-cv-05640-YGR
                     Case 4:20-cv-05640-YGR Document 821-10 Filed 10/08/21 Page 3 of 9


            1    apps selling subscriptions to contain clear and conspicuous pricing and clearly describe what the user
            2    will get for that pricing. The Guidelines also are intended to ensure that apps perform the way they are
            3    described as performing and protect users against scams. For example, Apple prohibits apps that hold
            4    users hostage by refusing to provide paid-for functionality until the user consents to unnecessary data
            5    access. Apple also requires that apps offering “loot boxes,” or mechanisms that provide randomized
            6    virtual items for purchase, must disclose the odds of receiving each type of item to customers prior to
            7    purchase. Nor can credits or in-game currencies purchased via in-app purchase expire under the
            8    Guidelines.
            9           5.      Apple’s App Review Guidelines also seek to protect against invasions of user privacy,
           10    by prohibiting apps that attempt to manipulate, trick, or force people to consent to unnecessary data
           11    access, or that seek to access data not necessary to accomplish the relevant tasks of the app. The App
           12    Store is designed to help users better understand an app’s privacy practices even before they make the
           13    decision to download that app onto their device. Every developer is required to submit app privacy
           14    labels (which we also refer to colloquially as “nutrition labels”) with every app and app update
           15    submitted to the App Store. App privacy labels are intended to inform users what data will be collected
           16    from the app and how it will be used.
           17           6.      Apple holds all apps available in the App Store to a high standard for privacy, security,
           18    and content. App Review has detected and prevented acts of fraud, attempted theft, and other ill-
           19    intentioned conduct. Apple receives approximately one hundred thousand submissions of apps and
           20    app reviews per week, with a yearly total of over 4 million submissions. In 2019, for example, Apple
           21    received 4,808,685 submissions. Of those submissions, 1,747,278 were rejected because they did not
           22    meet the standards for privacy, security, reliability, performance, and quality set out in Apple’s App
           23    Review Guidelines. This amounted to a rejection rate of 36 percent in 2019, which is roughly consistent
           24    with the rejection rates for 2017 and 2018. In 2020, the rejection rate rose to around 40 percent.
           25           7.      In 2020 alone, Apple rejected more than 48,000 apps because they contained hidden or
           26    undocumented features, more than 150,000 apps because they were found to be spam, copycats, or
           27    misleading to users in ways such as manipulating them into making a purchase, and more than 215,000
           28    apps because they contained violations of Apple’s user privacy-protecting Guidelines. Apple also

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                                                                   2
Crutcher LLP                                    DECLARATION OF TRYSTAN KOSMYNKA
                                                        No. 20-cv-05640-YGR
                     Case 4:20-cv-05640-YGR Document 821-10 Filed 10/08/21 Page 4 of 9


            1    terminated 470,000 developer accounts and rejected an additional 205,000 developer enrollments over
            2    fraud concerns, to prevent them from submitting bad apps to the App Store. These efforts complement
            3    sophisticated fraud detection techniques that Apple performs on purchases made using Apple’s secure
            4    commerce engine on the App Store. Apple has been able to identify the use of stolen cards during
            5    purchasing and other potentially fraudulent transactions. Apple has published statistics regarding these
            6    efforts in the Press Release attached as Exhibit A. Though these efforts, we have built critical trust
            7    with users and as a result Apple’s brand is synonymous with security, privacy, and reliability.
            8    Guideline 3.1.1 and the Court’s Injunction
            9           8.      Among Apple’s App Review Guidelines is Guideline 3.1.1., which says in its first
           10    paragraph: “If you want to unlock features or functionality within your app, (by way of example:
           11    subscriptions, in-game currencies, game levels, access to premium content, or unlocking a full version),
           12    you must use in-app purchase. Apps may not use their own mechanisms to unlock content or
           13    functionality, such as license keys, augmented reality markers, QR codes, etc. Apps and their metadata
           14    may not include buttons, external links, or other calls to action that direct customers to purchasing
           15    mechanisms other than in-app purchase.” I understand that, on September 10, 2021, the Court issued
           16    an injunction against Apple relating to this Guideline.
           17           9.      Since September 10, 2021, Apple has received multiple questions from developers
           18    about this injunction and what it means. Developers, including those with previous rejections under
           19    Guideline 3.1.1, have been resubmitting or replying to the App Review team to ask how the guidelines
           20    are changing or whether they need to continue to comply with Guideline 3.1.1. Their communications,
           21    some of which point to news articles, show substantial confusion about the injunction’s terms. Many
           22    of these developers appear to believe that the injunction prohibits Apple from requiring the use of IAP
           23    generally, and instead permits developers to utilize payment mechanisms other than IAP inside their
           24    apps. One developer wrote: “I would like to know how (and when) the guidelines are changing in
           25    relation to the ruling that Apple must now allow other forms of in-app purchases for apps uploaded to
           26    the App Store.” Another developer wrote: “now that the new US court ruling allowed developers to
           27    have 3rd party payment systems, can we now publish an app that charges money from the users, without
           28    adding apple-payment solutions at the beginning?” Still another developer wrote: “Are you suggesting

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                                                                    3
Crutcher LLP                                    DECLARATION OF TRYSTAN KOSMYNKA
                                                        No. 20-cv-05640-YGR
                     Case 4:20-cv-05640-YGR Document 821-10 Filed 10/08/21 Page 5 of 9


            1    that we still need to implement in-app purchase to get our app approved and it’s a compulsory
            2    requirement?”
            3            10.     Along with others at Apple, I am currently studying the effect of the change to Guideline
            4    3.1.1 in light of the Court’s ruling. At a high level, it is my judgment that, without thoughtful
            5    restrictions in place to protect consumers, developers, and the iOS platform, this change will harm
            6    users, developers, and the iOS platform more generally.
            7            11.     Guideline 3.1.1 currently allows Apple to ensure that users who purchase digital goods
            8    or services in an app receive what they paid for, on the actual terms that they were informed of and
            9    agreed to, and that the payment will occur in a secure manner, protected against fraud and theft of their
           10    personal information. The combination of Guideline 3.1.1 and IAP equalizes the playing field for every
           11    user and every developer, so that every user knows that any IAP purchase from any developer’s app
           12    available in the App Store will occur in a safe and verified manner. Guideline 3.1.1 thus has formed
           13    one of the backbones of the App Store’s protections and been critical to Apple’s ability to offer a
           14    curated app store environment.
           15            12.     Apple’s IAP offers a secure payment system that protects user payment information and
           16    details. It reflects the clear and straightforward disclosure of the price that will be charged for a digital
           17    good or service at time of purchase or through subscriptions, as well as notifications when a free trial
           18    is about to end and a user is about to be charged. Apple provides many additional services and benefits
           19    to customers, many of which are unique to Apple’s commerce engine. IAP records sales and creates
           20    receipts for those purchases, so purchases can be verified. It enables the completion or restoration of
           21    purchases, whether in situations where a user hit the “buy” button for an IAP purchase and the
           22    developer did not deliver the content for some technical reason or in situations where a user wants to
           23    put an app and in-app-purchased content on a new device. It allows Apple, developers, and users to
           24    verify whether a receipt for an IAP purchase is authentic and allows Apple to respond to the hundreds
           25    of thousands of reports that we receive every day from users who need help with a developer that has
           26    failed to deliver a promised digital good. It facilitates family sharing so that app purchases and services
           27    can be shared across family members. It protects users against unintended or fraudulent purchases with
           28    a “content check” feature to make sure a user has not made a duplicative purchase, and an “ask to buy”

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Crutcher LLP                                     DECLARATION OF TRYSTAN KOSMYNKA
                                                         No. 20-cv-05640-YGR
                     Case 4:20-cv-05640-YGR Document 821-10 Filed 10/08/21 Page 6 of 9


            1    feature that allows parents to approve or block a child’s in-app purchase. Plus, IAP transactions are
            2    monitored by Apple’s anti-fraud technology, to detect and protect against the use of stolen cards in IAP
            3    purchases of digital goods and services (including for the purpose of laundering or other illicit
            4    purposes).
            5           13.     Users who make a payment for digital content thus expect that they are providing their
            6    personal and financial information in a secure manner, in exchange for that verified purchase. When
            7    users make purchases of digital content in the App Store using IAP, Apple is uniquely positioned to
            8    verify the delivery of the content and to provide customer support for the transaction. Conversely,
            9    Guideline 3.1.1 does not apply to transactions involving delivery of physical goods and services, in
           10    part because Apple has no ability to verify delivery and troubleshoot problems with such purchases.
           11           14.     Purchases of digital content and services are also vulnerable to fraudulent manipulation.
           12    We have observed social engineering attacks attempted through digital content purchases. The App
           13    Review team reviews IAP purchases to screen for such attempts, along with subscription pricing
           14    information contained in an app. The App Review team has taken action on many apps that try to
           15    defraud or maliciously change pricing information in apps after review. In fact, the specific restrictions
           16    in Guideline 3.1.1 have arisen in response to threats detected in apps. With respect to social engineering
           17    attacks, some apps have tried to change their subscription pricing after review to make their pricing
           18    information opaque or otherwise mislead the user. For example, some developers have stated that the
           19    subscription will charge $1 per day for a year, rather than $365 per year, in order to conceal the
           20    complete cost. Other apps have tried to offer a range of prices for IAP (such as 1 virtual crop, 10 virtual
           21    crops, 100 virtual crops, 1000 virtual crops) where one of the prices (often in the middle) is
           22    disproportionately higher than the other, with the goal of conditioning the user to quickly pay that
           23    disproportionately high price. Still other apps place flashing arrows around the “okay” button or the
           24    “allow” button as a way to condition the user to providing a quick permission, or flash a series of pop-
           25    up screens requiring a “yes” answer immediately before popping up an IAP purchase screen. Other
           26    developers have tried to abuse Apple’s Touch ID functionality by first requiring Touch ID to log into
           27    an app, and then immediately surfacing a purchase screen while Touch ID is still operative—and with
           28    pricing that is exorbitantly disproportionate to the content to be purchased. And these examples of

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                                                                     5
Crutcher LLP                                     DECLARATION OF TRYSTAN KOSMYNKA
                                                         No. 20-cv-05640-YGR
                     Case 4:20-cv-05640-YGR Document 821-10 Filed 10/08/21 Page 7 of 9


            1    malicious apps are not the only time that we have seen developers try to take advantage of user
            2    confidence in the safety, security, and reliability of apps offered on the App Store in order to mislead
            3    or defraud users. By the same token, there is a risk that bad actors will seek to exploit user expectation
            4    that payment mechanisms to which an app directs users (and particularly payment links embedded in
            5    an app) would be safe places where users can securely provide their payment, email address, and other
            6    personal and contact information.
            7           15.     To my knowledge, Apple has never permitted external payment links or other payment
            8    mechanisms for the purchase of digital goods and services within an app.                External payment
            9    mechanisms that operate outside of Apple’s secure commerce engine not benefit from Apple’s IAP or
           10    App Review protections and benefits. When users utilize external payment links, they are thus no
           11    longer utilizing a payment mechanism that Apple secures, verifies, and protects from fraud. Apple
           12    does not have visibility into the payment transactions and cannot verify that the users actually paid for
           13    the good with a valid payment mechanism or received the product or feature that they paid for. Nor
           14    can Apple review the purchase offerings for compliance with the App Review Guidelines or conduct
           15    anti-fraud monitoring on purchases and payments made on an external website. Apple cannot make
           16    sure that there is a clear way to cancel subsequent charges to the payment information entered on an
           17    external website. And Apple cannot ensure that an external website protects a user’s privacy or
           18    payment information, or that it conforms to the app’s privacy nutrition labels that the developer
           19    submitted to Apple during the App Review process. And even if Apple could check these websites
           20    during the review process, Apple cannot prevent developers from, after approval of their app or app
           21    update, altering an external website. Not only does this introduce security and privacy risks, but it also
           22    means Apple is unable to respond to and provide refunds for users who need help with a developer that
           23    has failed to deliver on a promised digital good, as well as the ability to identify and take action to stop
           24    fraudulent developers.
           25           16.     Steering consumers to external payment mechanisms thus will expose users with much
           26    greater frequency to the risks of external payment links and, consequently, lower user confidence in
           27    the safety, security, and reliability of digital content purchases and mechanisms. Developers will suffer
           28    from this lowered confidence as well, as users will be less inclined to make purchases. More generally,

Gibson, Dunn &
                                                                     6
Crutcher LLP                                     DECLARATION OF TRYSTAN KOSMYNKA
                                                         No. 20-cv-05640-YGR
                     Case 4:20-cv-05640-YGR Document 821-10 Filed 10/08/21 Page 8 of 9


            1    steering consumers to external payment mechanisms will affect the promise of a curated app store
            2    where users know that, when they want to buy a digital good or service in an app, they will actually
            3    receive what they paid for and that the payment will occur in a secure manner, protected against fraud
            4    and theft of their personal information.
            5           17.     In view of these risks, Apple is actively investigating mechanisms for safeguarding
            6    users, developers, the App Store, and the iOS platform to the extent possible. Apple’s App Store and
            7    IAP functionality are deeply integrated into the iOS ecosystem and rely upon and utilize iOS device
            8    hardware and software. Apple has continued to work on the development and improvement of IAP
            9    into the iOS ecosystem since its roll-out, with a series of systemic changes that each have required
           10    significant consideration and time. In fact, Apple just released StoreKit 2, an improved version of the
           11    StoreKit API that enables IAP functionality, after extensive work and time. StoreKit 2 improves the
           12    security of purchases, from the way that developers can resolve purchase issues, to the way that users
           13    can request refunds and manage their individual app subscriptions.
           14           18.     If users can be steered to external payment mechanisms, we will have to consider the
           15    impact on the layers of protection that IAP offers: protections such as “Ask to Buy” feature and parental
           16    controls for apps for children, the way in which Face ID or Touch ID can be used to authorize a
           17    purchase in all apps, and the way that purchases can be completed and restored on a user’s devices,
           18    among others. It will require substantial engineering and other changes to the App Store, to App
           19    Review and its tools, and to all of platforms and devices that interact with and rely upon the App Store.
           20    Indeed, we have previously had to make engineering changes to the operating system along with
           21    Guideline changes in response to risks that have been detected in apps. In addition, we have to consider
           22    customer service features such as the current refund and dispute resolution mechanisms for addressing
           23    complaints by users and developers about failed delivery content and fraudulent purchases. Plus we
           24    have to evaluate whether potential new Guidelines and other protective features have to be developed
           25    for the App Store. All of this is in addition to the development of new App Review processes and
           26    computer tools to account for the new risks. Ultimately, these questions require consideration of the
           27    very security concerns that Apple has combatted with the use of IAP and the way in which users interact
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                                                                    7
Crutcher LLP                                    DECLARATION OF TRYSTAN KOSMYNKA
                                                        No. 20-cv-05640-YGR
                     Case 4:20-cv-05640-YGR Document 821-10 Filed 10/08/21 Page 9 of 9


            1    with their devices—all of which will impact the trust and confidence that users currently hold in the
            2    App Store.
            3                                                    ***
            4           I declare under penalty of perjury under the laws of the United States of America that the
            5    foregoing is true and correct.
            6           Executed on October 8, 2021 at San Jose, California.
            7
                                                                      By:
            8
                                                                               Trystan Kosmynka
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Crutcher LLP                                      DECLARATION OF TRYSTAN KOSMYNKA
                                                          No. 20-cv-05640-YGR
